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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                    October 16, 2020
                          UNITED STATES DISTRICT COURT
                                                                                   David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           § MAG. JUDGE ACTION NO. 2:20-MJ-1806
                                              §
ISRAEL DELUNA                                 §


 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

        A detention hearing was held today in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The government called Homeland Security Investigations Special

Agent Matthew Brem to testify. The Court heard argument from the government and

defense counsel. The following requires detention of the Defendant pending trial in this

case:

        (1)   There are no conditions or combination of conditions that would reasonably

assure the appearance of the Defendant as required and the safety of the community.

        The evidence against the Defendant meets the probable cause standard. The

Defendant is a multiple time convicted felon, he was on bond for a felony offense at the

of the instant offense, is currently on parole for a felony offense, has a history of poor

compliance with court orders, this offense involved Defendant allegedly transporting

thirty (30) undocumented aliens, and the Defendant allegedly engaged in similar conduct

approximately one month prior to this offense (involving twenty-four undocumented

aliens). The findings and conclusions contained in the Pretrial Services Report are

adopted.

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       The Defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The Defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on request

of an attorney for the Government, the person in charge of the corrections facility shall

deliver the Defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.


       ORDERED this 16th day of October, 2020.


                                              ___________________________________
                                              Julie K. Hampton
                                              United States Magistrate Judge




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